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                                                                                 Page 248
                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION
         _____________________________
         RICHARD KADREY, et al.,      )
                    Individual and    )
                    Representative    )
                    Plaintiffs,       )
                                      )
           v.                         )   Case No.:
                                      )   3:23-cv-03417-VC
         META PLATFORMS, INC.,        )
                    Defendant.        )
         _____________________________)

             ** HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY **
                     Videotaped 30(b)(1) deposition of
                             NIKOLAY BASHLYKOV
                                 Volume II

                                Friday, December 6, 2024

                                        London, England
                                        United Kingdom

                      Reported stenographically by:
                          Leah M. Willersdorf,
                    RMR, CRR, FBIVR, ACR, QRR2*, CLR
         ____________________________________________________
                         DIGITAL EVIDENCE GROUP
                      1730 M. Street, NW, Suite 812
                         Washington, D.C. 20036
                             (202) 232-0646


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                                                                                 Page 286
   1               Q.     Do you have an understanding that

   2     torrenting or seeding from datasets from Facebook

   3     servers is also a risk, sitting here today?                           And

   4     I would like to exclude from the answer any

   5     discussions or conversations you may have had with

   6     counsel.

   7                      MR. WEINSTEIN:            Object to form, lacks

   8     foundation.

   9                      And with his caveat, you can answer his

 10      question.       Obviously exclude from your answer any

 11      communications you may have had with counsel, if any.

 12                       THE WITNESS:           Sorry.      Could you repeat the

 13      question?

 14      BY MR. YOUNG:

 15                Q.     Yeah.      I am asking if, sitting here today,

 16      you understand that torrenting or seeding datasets

 17      from Facebook servers carries risk, and I would like

 18      you to exclude from your answer any discussions or

 19      conversations you may have had with counsel?

 20                       MR. WEINSTEIN:            Same objection --

 21                       THE WITNESS:           I -- sorry.         Yeah.

 22                       MR. WEINSTEIN:            Same objection.



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                                                                                 Page 287
   1                      And, again, don't reveal the

   2     communications with counsel.                  If you can answer the

   3     question without revealing communications with

   4     counsel, you can go ahead and do so.

   5                      THE WITNESS:           So yeah, my understanding at

   6     this point in time, that seeding and downloading can

   7     involve risk, but I don't have -- like, I can't

   8     estimate it or anyhow provide details on the risk.

   9     BY MR. YOUNG:

 10                Q.     Okay, thank you.

 11                       And is that the same -- is that risk the

 12      same risk that you're referring to when you were

 13      saying -- do you recall yesterday we -- actually, let

 14      me start that over.

 15                       Do you recall yesterday we saw a document

 16      wherein you described torrenting LibGen as potentially

 17      being legally not okay?

 18                A.     I remember.

 19                Q.     Okay.      Is that the same risk that you are

 20      describing sitting here today?

 21                A.     So that is what I was referring to right

 22      now, yes.



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   1                      CERTIFICATE OF COURT REPORTER
   2             I, LEAH M. WILLERSDORF, Registered Merit
   3     Reporter, Certified Realtime Reporter, Fellow of the
   4     British Institute of Verbatim Reporters, Qualified
   5     Realtime Reporter Level 2, and Certified LiveNote
   6     Reporter, do hereby certify that:
   7             NIKOLAY BASHLYKOV appeared before me on Friday,
   8     December 06, 2024, was sworn by me and was thereupon
   9     examined by counsel; that the testimony of said
 10      witness was taken by me stenographically; that the
 11      foregoing is a true and accurate record to the best of
 12      my knowledge, skill and ability; that I am neither a
 13      relative nor employee of any party to the action in
 14      which this testimony was taken; that I am neither
 15      relative nor employee of any attorney or counsel
 16      employed by any party thereto; and, further, I am not
 17      financially or otherwise interested in the outcome of
 18      the action.
 19
 20
                               ___________________________
 21                                 LEAH M. WILLERSDORF
                          RMR, CRR, FBIVR, ACR, QRR2, CLR
 22                               (December 08, 2024)



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